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              Fill in this information to identify your case:

 Debtor 1                  Cleveland Simons, Jr.
                           First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND, GREENBELT DIVISION

 Case number
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Enterprise Auto Finance                              Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
    Description of
                                                                           Retain the property and enter into a Reaffirmation     Yes
                         2017 Ram 1500                                       Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         FFBC Water & Sewer LLC                               Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation    Yes
    Description of       13806 Dawn Whistle Way,                              Agreement.
    property             Bowie, MD 20721-1309                              Retain the property and [explain]:
    securing debt:                                                          Retain and pay pursuant to contract


    Creditor's         Shellpoint Mortgage Servicing                        Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation    Yes
    Description of       13806 Dawn Whistle Way,                              Agreement.
    property             Bowie, MD 20721-1309                              Retain the property and [explain]:
    securing debt:                                                          Retain and pay pursuant to contract

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 Debtor 1      Simons, Cleveland Jr.                                                                 Case number (if known)




     Creditor's    Westgate Resorts                                    Surrender the property.                                    No
     name:                                                              Retain the property and redeem it.
                                                                        Retain the property and enter into a Reaffirmation         Yes
     Description of    10000 Turkey Lake Rd # 1536,                      Agreement.
     property          Orlando, FL 32819-8007                           Retain the property and [explain]:
     securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Cleveland Simons Jr.                                                   X
       Cleveland Simons, Jr.                                                          Signature of Debtor 2
       Signature of Debtor 1

       Date        July 29, 2019                                                  Date




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